IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

LEATHA WILLIAMS, as guardian of
a minor, LAUREN WILLIAMS and
ALICIA WILLIAMS,

Plaintiff,

Vv.

CAMPBELL COUNTY, TENNESSEE,
ET AL.

Defendants.

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) No, 3:05-cv-141
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AFFIDAVIT OF SAMUEL FRANKLIN

Samuel Franklin, after being duly sworn according to law, deposes and says as follows:

1, My name is Samuel Franklin. Iam currently incarcerated at the Federal Correctional
Institution in Manchester, Kentucky. At all material times, | was employed by the Campbell
County Sheriff's Department.

2. I participated in a drug “round-up” investigation of approximately 70-80 persons,
including the decedent, Ted Williams, who were indicted by the grand jury.

3. The only involvement that | may have had with Williams’ that I can recall was role in
his indiictmentsceeeaet:

4. I can state with certainty that I did not have any contact with Williams after his arrest,

which was 40 plus hours before he committed suicide. Williams suicide was a surprise to me.

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5. Ifand to the extent plaintiffs contend that I conspired with others to intentionally kill
Ted Williams, I did no such things, and have no information that Williams’ death resulted from
any cause other than his voluntary choice to hang himself.

Further, affiant saith not.

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Samuel Frankl
STATE OF KENTUCKY )

)
COUNTY OF Mow )

Personally appeared before me Samuel Franklin, with whom | am personally acquainted,
and who acknowledged that she executed the within instrument for the purposes therein
contained.

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Witnessed my hand, at office, this the & day of UM st , 2006.
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Notary Public

J
My Commission Expires: hon if my Aol 0

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